Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 1 of 62 PagelD #: 241

RECEIVED

UNITED STATES DISTRICT COURT APR 3.0 2021
FOR THE DISTRICT OF RHODE ISLAND

U.S. DISTRICT COURT

 

CHRISTOPHER LACCINOLE DISTRICT OF R.L
Plaintiff

Vs. CA. NO.: 1:21-cv-00090-WES-LDA

Global Payments Check Services, LLC,

DOES 1-10, inclusive JURY TRIAL REQUESTED

Defendants

FIRST AMENDED COMPLAINT
Plaintiff submits this First Amended Complaint pursuant to Fed.R.Civ.P.

15(a)(1)(B).

I, INTRODUCTION

This is a civil action seeking remedy for violations under multiple federal and state
consumer protection statutes. Plaintiff, a consumer, was harassed by debt collectors with 25
robocalls for a debt he never owed. Plaintiff is an identity theft victim and is regularly
harassed by companies like Global Payments Check Services, LLC (“Global”) who seek to
profit from the misery of consumers who are trapped in the web of identity theft. Plaintiff
sent Global a certified letter telling Global not to call Plaintiff because Global had the wrong
number. Plaintiff also asked Global to validate any debt alleged to be owed and Global
refused to validate any debt. Plaintiff doesn’t owe Global any money and he doesn’t have
any account or any business relationship with Global whatsoever.
1. The Plaintiff brings this action alleging that the Defendant Global and Does 1-10

engaged in harassing, abusive, and prohibited conduct while attempting to collect an

alleged debt in violation of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”), the Telephone Consumer Protection Act, 47 U.S.C. §
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 2 of 62 PagelD #: 242

227 (hereinafter “TCPA”), and the Rhode Island Fair Debt Collection Practices Act,
RIGL § 19-14.9, et seq. (hereinafter “RI FDCPA”). The Plaintiff seeks statutory
damages, actual damages, injunctive relief, costs, and attorney’s fees for each
Defendant under the FDCPA, TCPA, RIFDCPA, and RIGL § 9-30-2.

2. The Plaintiff also alleges that Defendants’ conduct while attempting to collect the
alleged debt constituted a deceptive practice in violation of the Rhode Island
Deceptive Trade Practices Act, RIGL § 6-13.1 et seg. (hereinafter “DTPA”). The
Plaintiff seeks statutory damages, actual damages, costs, attorney’s fees, injunctive
relief, and punitive damages for each Defendant under the DTPA.

3. The Plaintiff also alleges that Defendants’ conduct violated Plaintiff's right to privacy
under RIGL § 9-1-28.1 et seg. The Plaintiff seeks actual damages, costs, attorney’s
fees, and injunctive relief from each Defendant under the statute.

4, Any violations by Defendants were knowing, willful, intentional, and Defendants
did not maintain procedures reasonably adapted to avoid any such violation.

II. JURISDICTION AND VENUE

5. This Court has jurisdiction to hear FDCPA claims pursuant to 15 U.S.C. §
1692(k)(d).

6. This Court has jurisdiction to hear TCPA claims in this matter pursuant to 47 U.S.C.
§ 227(b)(3) and 47 U.S.C. § 227(c)(5).

7. This Court has jurisdiction to hear RI FDCPA claims pursuant to RIGL § 19-14.9-
13(5).

8. This Court has jurisdiction to hear RI DTPA claims pursuant to RIGL § 6-13.1-5.2.
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 3 of 62 PagelD #: 243

10,

11.

12.

13.

14.

15,

16,

17,

18.

19.

20.

21.

Il. PARTIES
The Plaintiff is an adult resident, of the Town of Narragansett, County of
Washington, State of Rhode Island.
Plaintiff has never had a business relationship with Global.
Plaintiff is a consumer as that term is defined by 15 USC § 1692a(3).
Plaintiff is a consumer as that term is defined by RIGL § 19-14.9-3(1).
Plaintiff is a person as that term is defined or referenced by 15 USC § 1692d.
Plaintiff is a person as that term is defined or referenced by RIGL § 19-14.9-6.
Plaintiff is a person as that term is defined or referenced by RIGL § 6-13.1-5.2, RIGL
§ 9-1-28.1.
As a consumer, Plaintiff purchased a cellular telephone for personal and household
use,
In purchasing his cellular telephone and cellular telephone service, Plaintiff—as a
natural person—became obligated or allegedly obligated to pay a debt to the cellular
telephone service provider.
Plaintiffs cellular telephone has a limited minutes plan, so that when Global calls
Plaintiff, it depletes the minutes on Plaintiff's plan.
Upon information and belief, Defendant Global is a national collection agency
formed in the State of Illinois.
The principal purpose of Global is the collection of debts using the mails and
telephone and other means.
Global regularly collects or attempts to collect, directly or indirectly, debts owed or

due or asserted to be owed or due another that arose out of transactions in which the
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 4 of 62 PagelD #: 244

22.

23.

24,

25.

26.

27,

28.

29.

30.

31.

money, property, or services which are the subject of the transactions are primarily
for personal, family or household purposes.
Global is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).
Global is a “debt collector” as that term is defined by RIGL § 19-14.9-3 (5).
Global operates as a debt collector in the State of Rhode Island, and is registered
through the Rhode Island Department of Business Regulations to collect debt in the
State of Rhode Island.
A copy of the debt collector application that Global submitted to the Rhode Island
Department of Business Regulations is attached to this Complaint as Exhibit A.
Upon information and belief, Global may be served upon its registered agent in the
State of Rhode Island, to wit: CT Corporation, 10 Weybosset Street, Providence, RI
02903.
Other defendants may be discovered in the course of litigation, and Plaintiff
respectfully prays that the Court will permit the addition of later discovered parties
upon motion.

IV. FACTUAL ALLEGATIONS
At all times relevant to this Complaint, Defendants were engaged in the business of
regularly collecting Debts, originally owed to third parties.
At all times relevant to this Complaint, Defendants acted as “Debt Collectors” as
defined by the FDCPA at 15 U.S.C. § 1692(a)(6), and the RI FDCPA at RIGL § 19-
14.9-3.
Plaintiff does not owe any Defendant any money.

Global acted at all times mentioned herein through its employee(s) and agent(s).
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 5 of 62 PagelD #: 245

32,

33,

34.

35.

36.

37.

38.

39,

40.

41.

42.

43,

44.

In 2019, Plaintiff purchased a cellular telephone and prepaid phone service plan for
personal use.

In purchasing his cellular telephone and cellular telephone service, Plaintiff—as a
natural person—became a participant in local trade or commerce.

The cellular telephone service that Plaintiff purchases is available to any Rhode
Islander. This trade or commerce directly or indirectly affects the people of this
state.

As part of the plan that Plaintiff purchased, there are a limited number of minutes
available on the plan.

On October 9, 2020 at approximately 3:02 PM EST, Plaintiff received a call on his
cellular telephone from 877 215 8120.

When Plaintiff answered the call, there was dead air for four seconds before Plaintiff
heard a click and then an operator started talking,

The operator asked to speak to “Matthew.”

The operator identified herself as “Global Payment Check Services about Rhode
Island Sports Book”

Plaintiff did not know who the caller referenced.

Plaintiff subsequently discovered that Global is a debt collector.

Global continued to call Plaintiff.

On October 21, 2020, Plaintiff sent a certified letter (return receipt requested) to
Global Payments Check Services, LLC at 6215 West Howard Street, Niles, IL
60714,

In Plaintiff's letter, Plaintiff provided his name, telephone number, and full mailing
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 6 of 62 PagelD #: 246

45.

46.

47.

48.

49.

50.

ol.

52,

53.

4,

D5.

56.

57.

address.

In Plaintiffs letter, he stated, “A// calls are inconvenient. Please don’t call me. You have
the wrong number,”

Global received and signed for Plaintiff's letter on October 26, 2020.

Upon information and belief, Global uses the phone number 877 215 8120 to contact
consumers such as Plaintiff.

Plaintiff does not have an account with Global.

Plaintiff does not have an account with “Rhode Island Sports Book.” Plaintiff
doesn’t have any service with an entity that sounds like “Rhode Island Sports Book.”
Plaintiff has no pre-existing business relationship with Global and never requested by
an agreement or otherwise that he be contacted.

In the letter that Plaintiff sent to Global, Plaintiff disputed any debt, and Plaintiff
asked Global to validate any debt.

Global never validated any debt to Plaintiff.

On November 2, 2020, Plaintiff received correspondence in his mail from Global.
Global’s correspondence to Plaintiff was dated October 26, 2020,

In Global’s correspondence to Plaintiff, Global did not identify it was a debt
collector.

In Global’s correspondence to Plaintiff, Global did not identify that any information
obtained will be used for that purpose.

In Global’s correspondence to Plaintiff, Global demanded to know Plaintiff's
account number, Plaintiffs Date of Birth, Plaintiff's Social Security Number,

Plaintiff's Driver’s License, Plaintiffs address verification, Plaintiff's address history,
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 7 of 62 PagelD #: 247

58.

o9.

60.

61.

62,

63.

64.

65.

66.

and Plaintiffs Name Change History.
In Global’s correspondence to Plaintiff, Global intended to intimidate Plaintiff by

placing the following message at the bottom of its letter:

DO NOT DISCARD THIS LETTER. KEEP THIS FOR FUTURE REFERENCE.

Those words were so important to Global that they were printed in a bolded, all caps
font and they were the only text to be so stylized in the correspondence to Plaintiff.
Plaintiff never provided his consent to Global to be contacted on his cellular
telephone.

Plaintiff's phone number is part of the national Do Not Call registry.

Upon information and belief, Defendants employ an automatic telephone dialing
system because there was no human on the other end of the call for over seven
seconds during several of these calls. The further evidence of this system is that
during some of the calls, Plaintiff heard an audible click followed by a pause and
then an operator joined the call.

The further evidence of this automatic telephone dialing system is that there was no
human on the other end of Defendants’ calls.

The further evidence of this automatic telephone dialing system is that during several
of the calls when Global called Plaintiff, Plaintiff would answer the call and Global
would hang up on Plaintiff.

On several days, Global would call Plaintiff three (3) or four (4) times per day.

To call Plaintiff's cellular telephone, Defendants utilized a calling platform
(“Platform”) that allowed the transmission of thousands of calls without human

involvement.
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 8 of 62 PagelD #: 248

67.

68.

69.

70.

71,

72.

73,

74.

75.

This is evident because on many occasions, Plaintiff received and answered phone
calls from Defendants, only to be placed on hold and wait while no human was on
the other end of the call.

Specifically, upon information and belief, Defendants utilized a combination of
hardware and software systems to call Plaintiff. The systems utilized by Defendants
have the capacity to store telephone numbers using a random or sequential
generator, and to dial such numbers from a list without human intervention.

The Platform has the capacity to store telephone numbers, which capacity was in fact
utilized by Defendants.

The Platform has the capacity to generate sequential numbers, which capacity was in
fact utilized by Defendants to determine the order in which to pick phone numbers
from a preproduced list.

The Platform has the capacity to dial numbers in sequential order, which capacity
was in fact utilized by Defendants.

The Platform has the capacity to dial numbers from a list of numbers, which capacity
was in fact utilized by Defendants.

The Platform has the capacity to dial numbers without human intervention, which
capacity was in fact utilized by Defendants.

The Platform has the capacity to schedule the time and date for future transmission
of phone calls, which occurs without any human involvement.

To call telephone numbers, Defendants’ Platform automatically executed the
following steps:

a. The Platform retrieved each telephone number from a list of numbers in the
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 9 of 62 PagelD #: 249

76.

77.

78.

79.

80.

81.

sequential order the numbers were listed;

b. The Platform then generated each number in the sequential order listed and
dialed each number;

c. Each call was then placed in the sequential order listed to mobile carriers (e.g.
AT&T), and consumers.

d. Upon the answer of Plaintiff, the Platform transferred the call—automatically
and with no human intervention—to a queue in which Defendants could supply
a live operator, again in the sequential order listed by Defendant. Ifno live
operator (human) was available, the Platform—automatically and with no
human intervention—terminated the call.

The above execution of these instructions occurred seamlessly, with no human

intervention, and almost instantaneously. Indeed, the Platform is capable of

transmitting thousands of calls following the above steps in minutes, if not less.

None of the calls placed by Defendants to Plaintiff identified the true purpose of the

call, meaning that Plaintiff was unable to determine that the call was about debt

collection before answering the phone (and incurring usage charges).

At the time that Global started calling Plaintiff, Plaintiff had already had the phone

number in question for over eight (8) months.

Upon information and belief, Global obtained Plaintiff's cellular telephone through a

skip tracer search of an outdated database.

Per Exhibit A, Global has an affiliate called “Global Payments Gaming Services,

Inc.” (see Exhibit A, Page 8).

Global Payments Gaming Services, Inc. provides, inter alia, electronic check services
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 10 of 62 PagelD #: 250

82.

83.

84.

85.

86.

87.

88.

89,

90.

91,

92,

for consumers who gamble.

As described in Exhibit B, Global Payments Gaming Services, Inc. offers e-check
services through “VIP Preferred.”

Upon information and belief, Global Payments Gaming Services, Inc. refers
accounts to Global Payments Check Services, LLC for collection of defaulted debt.
Upon information and belief, Rhode Island Sports Book uses the e-check services
from VIP Preferred.

When the underlying Rhode Island Sports Book account was placed for collection,
Global Payments Check Services, LLC conducted a skip tracer search which listed
the telephone number assigned to Plaintiff.

Global’s calls directly interfered with Plaintiff's right to peacefully enjoy a service
that Plaintiff paid for and caused Plaintiff a significant amount of anxiety,
frustration, and annoyance.

It is unfair for Global to call Plaintiff and deplete the minutes in Plaintiff's cell phone
plan when Global did not have consent to call Plaintiff.

During all of Global’s communications with Plaintiff, Global never disclosed that the
debt was in dispute.

The telephone calls to Plaintiff’s cellular telephone number were not initiated for an
emergency purpose.

The robocalls were annoying, abusive, and harassing to Plaintiff.

The robocalls to Plaintiff invaded the privacy interests that the TCPA was intended
to protect.

Defendants do not maintain a written policy for maintaining a do-not-call list.

10
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 11 of 62 PagelD #: 251

93.

94,

95.

96.

97.

98.

99,

100.

101.

102.

103.

104.

105.

Defendants have not informed and trained personnel engaged in making calls on the
use of the do-not-call list.
Plaintiff incurred damages as a result of Defendants’ unlawful conduct.
Defendants’ phone calls harmed Plaintiff by causing the very harm that Congress
sought to prevent—a “nuisance and invasion of privacy.”
Defendants’ phone calls harmed Plaintiff by trespassing upon and interfering with
Plaintiff's rights and interests in Plaintiff's cellular telephone.
Defendants’ phone calls harmed Plaintiff by trespassing upon and interfering with
Plaintiff's rights and interests in Plaintiff's cellular telephone line.
Defendants’ phone calls harmed Plaintiff by intruding upon Plaintiff's seclusion.
Defendants harassed Plaintiff by incessantly calling Plaintiff's telephone.
Defendants’ phone calls harmed Plaintiff by causing Plaintiff aggravation and
annoyance.
Defendants’ phone calls harmed Plaintiff by wasting Plaintiff's time.
Defendants’ phone calls harmed Plaintiff by depleting the battery life on Plaintiff's
cellular telephone.
Defendants’ phone calls harmed Plaintiff by using minutes allocated to Plaintiff by
Plaintiff's cellular telephone service provider.
Defendants’ phone calls harmed Plaintiff by using data storage space in Plaintiffs
cellular telephone.

V. STATUTORY STRUCTURE RHODE ISLAND FDCPA
The Rhode Island Fair Debt Collection Practices Act (“RI FDCPA”) was passed by

the Rhode Island General Assembly to establish standards, by defining unfair or

11
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 12 of 62 PagelD #: 252

106.

107.

108.

109.

110.

111.

deceptive acts or practices, for the collection of debts from Rhode Island consumers,
and to establish requirements for the registering and supervision of debt collection.
RIGL § 19-14.9-2.

Under the RI FDCPA, without the prior consent of the consumer given directly to
the debt collector or the express permission of a court of competent jurisdiction, a
debt collector may not communicate with a consumer in connection with the
collection of any debt at any unusual time or place or a time or place known or
which should be known to be inconvenient to the consumer. RIGL § 19-14.9-5(1).
Under the RI FDCPA, a debt collector may not communicate, in connection with
the collection of any debt, with any person other than the consumer. RIGL § 19-
14.9-5(2).

Under the RI FDCPA, if a consumer notifies a debt collector in writing that the
consumer wishes the debt collector to cease further communication with the
consumer, the debt collector shall not communicate further with the consumer with
respect to such debt. RIGL § 19-14.9-5(2).

Under the RI FDCPA, a debt collector may not engage in any conduct the natural
consequence of which is to harass, oppress, or abuse any person in connection with
the collection ofa debt. RIGL § 19-14.9-6,

Under the RI FDCPA, a debt collector may not cause a telephone to ring or engage
any person in telephone conversation repeatedly or continuously with intent to
annoy, abuse, or harass any person at the called number. RIGL § 19-14.9-6(d).
Under the RI FDCPA, a debt collector may not use any false, deceptive, or

misleading representation or means in connection with the collection of any debt.

12
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 13 of 62 PagelD #: 253

RIGL § 19-14.9-7,

112. Under the RI FDCPA, a debt collector may not use unfair or unconscionable means
to collect or attempt to collect any debt. RIGL § 19-14.9-8.

113. Under the RIFDCPA, within five days after the initial communication with a
consumer in connection with the collection of any debt, a debt collector shall, unless
the following information is contained in the initial communication or the consumer
has paid the debt, send the consumer a written notice containing—

(a) the amount of the debt;
(b) the name of the creditor to whom the debt is owed;
(c) a statement that unless the consumer, within thirty days after receipt of the
notice, disputes the validity of the debt, or any portion thereof, the debt will
be assumed to be valid by the debt collector;
(d) a statement that if the consumer notifies the debt collector in writing
within the thirty-day period that the debt, or any portion thereof, is disputed,
the debt collector will obtain verification of the debt or a copy of a judgment
against the consumer and a copy of such verification or judgment will be
mailed to the consumer by the debt collector; and
(e) a statement that, upon the consumer’s written request within the thirty-day
period, the debt collector will provide the consumer with the name and
address of the original creditor, if different from the current creditor.

RIGL § 19-14.9-9 (1).

114. Under the RI FDCPA, if the consumer notifies the debt collector in writing within

the thirty-day period described in subsection (1)(d) that the debt, or any portion

13
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 14 of 62 PagelD #: 254

115.

116.

117.

118.

119.

thereof, is disputed, or that the consumer requests the name and address of the
original creditor, the debt collector shall cease collection of the debt, or any disputed
portion thereof, until the debt collector obtains verification of the debt or a copy ofa
judgment, or the name and address of the original creditor, and a copy of such
verification or judgment, or name and address of the original creditor, is mailed to
the consumer by the debt collector.
RIGL § 19-14.9-9 (2).

Under the RI FDCPA, any debt collector who fails to comply with the provisions of
the RI FDCPA is liable for any actual damages sustained; statutory damages up to
$1,000; attorney fees as determined by the Court and costs of this action. RIGL § 19-
14.9-13.

VI. STATUTORY STRUCTURE FDCPA
The Fair Debt Collection Practices Act (“FDCPA”) was passed by Congress to
eliminate abusive debt collection practices by debt collectors. 15 U.S.C.§ 1692.
Under the FDCPA, a debt collector may not communicate with a consumer in
connection with the collection of any debt at any unusual time or place or a time or
place known or which should be known to be inconvenient to the consumer. 15
U.S.C. § 1692c(a)(1).
Under the FDCPA, a debt collector may not communicate, in connection with the
collection of any debt, with any person other than the consumer. 15 U.S.C. §
1692c(b).
Under the FDCPA, if a consumer notifies a debt collector in writing that the

consumer refuses to pay a debt or that the consumer wishes the debt collector to

14
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 15 of 62 PagelD #: 255

120.

121.

122.

123.

124.

cease further communication with the consumer, the debt collector shall not
communicate further with the consumer with respect to such debt. 15 U.S.C. §
1692c(c).
Under the FDCPA, a debt collector may not engage in any conduct the natural
consequence of which is to harass, oppress, or abuse any person in connection with
the collection of a debt. 15 U.S.C. § 1692d.
Under the FDCPA, a debt collector may not cause a telephone to ring or engage any
person in telephone conversation repeatedly or continuously with intent to annoy,
abuse, or harass any person at the called number. 15 U.S.C. § 1692d(5).
Under the FDCPA, a debt collector may not use any false, deceptive, or misleading
representation or means in connection with the collection of any debt. 15 U.S.C. §
1692e.,
Under the FDCPA, a debt collector may not use unfair or unconscionable means to
collect or attempt to collect any debt. 15 U.S.C. § 1692f.
Under the FDCPA, within five days after the initial communication with a consumer
in connection with the collection of any debt, a debt collector shall, unless the
following information is contained in the initial communication or the consumer has
paid the debt, send the consumer a written notice containing—
(1) the amount of the debt;
(2) the name of the creditor to whom the debt is owed;
(3) a statement that unless the consumer, within thirty days after receipt of the
notice, disputes the validity of the debt, or any portion thereof, the debt will
be assumed to be valid by the debt collector;
(4) a statement that if the consumer notifies the debt collector in writing
within the thirty-day period that the debt, or any portion thereof, is disputed,
the debt collector will obtain verification of the debt or a copy of a judgment

against the consumer and a copy of such verification or judgment will be
mailed to the consumer by the debt collector; and

15
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 16 of 62 PagelD #: 256

125.

126.

(5) a statement that, upon the consumer’s written request within the thirty-day

period, the debt collector will provide the consumer with the name and

address of the original creditor, if different from the current creditor.

15 U.S.C. § 1692g(a).
Under the FDCPA, if the consumer notifies the debt collector in writing within the
thirty-day period described in subsection (a) that the debt, or any portion thereof, is
disputed, or that the consumer requests the name and address of the original creditor,
the debt collector shall cease collection of the debt, or any disputed portion thereof,
until the debt collector obtains verification of the debt or a copy of a judgment, or the
name and address of the original creditor, and a copy of such verification or
judgment, or name and address of the original creditor, is mailed to the consumer by
the debt collector. Collection activities and communications that do not otherwise
violate this subchapter may continue during the 30-day period referred to in
subsection (a) unless the consumer has notified the debt collector in writing that the
debt, or any portion of the debt, is disputed or that the consumer requests the name
and address of the original creditor. Any collection activities and communication
during the 30-day period may not overshadow or be inconsistent with the disclosure
of the consumer’s right to dispute the debt or request the name and address of the
original creditor.
15 U.S.C. § 1692 g(b).

Under the FDCPA, any debt collector who fails to comply with the provisions of the

FDCPA is liable for any actual damages sustained; statutory damages up to $1,000;

attorneys’ fees and costs of this action. 15 U.S.C, § 1692k.

16
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 17 of 62 PagelD #: 257

127.

128.

129,

130.

131.

132.

133.

VII. STATUTORY STRUCTURE RHODE ISLAND DECEPTIVE TRADE
PRACTICES ACT

The Rhode Island Deceptive Trade Practices Act was passed to declare as unlawful
the “unfair methods of competition and unfair or deceptive acts or practices in the
conduct of any trade or commerce.” RIGL § 6-13.1-2.
Under the Rhode Island Deceptive Trade Practices Act, a “person” means natural
persons, corporations, and any other legal entity. RIGL § 6-13.1-1 ().
Under the Rhode Island Deceptive Trade Practices Act, “trade” and “commerce”
mean the sale or distribution of any services and any property, tangible or intangible,
real, personal, or mixed, and any other article, commodity, or thing of value
wherever situate, and include any trade or commerce directly or indirectly affecting
the people of Rhode Island. RIGL § 6-13.1-1 (5).
Under the Rhode Island Deceptive Trade Practices Act, unfair methods of
competition and unfair or deceptive acts or practices include (but are not limited to)
any one or more of the following:
a. Engaging in any other conduct that similarly creates a likelihood of confusion
or of misunderstanding [RIGL § 6-13.1-1 (6) (xid].
b. Engaging in any act or practice that is unfair or deceptive to the consumer
[RIGL § 6-13. 1-1 (6) (xiii)].
c. Using any other methods, acts or practices which mislead or deceive members
of the public in a material respect [RIGL § 6-13.1-1 (6) (xiv)].
The Rhode Island Deceptive Trade Practices Act does not define consumer. RIGL §
6-13.1-1.
The remedies available under the Rhode Island Deceptive Trade Practices Act are

available to “any person” and are not limited to consumers. RIGL § 6-13.1-5.2.

The remedies available under the Rhode Island Deceptive Trade Practices Act are

17
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 18 of 62 PagelD #: 258

134.

135.

136.

137.

available to “any person” and do not require a vendor-consumer relationship. RIGL
§ 6-13.1-5.2.
Under the Rhode Island Deceptive Trade Practices Act, any person who purchases
or leases goods or services primarily for personal, family, or household purposes and
thereby suffers any ascertainable loss of money or property, real or personal, as a
result of the use or employment by another person of a method, act, or practice
declared unlawful by § 6-13.1-2, may bring an action under the rules of civil
procedure in the superior court of the county in which the seller or lessor resides; is
found; has his or her principal place of business or is doing business; or in the
superior court of the county as is otherwise provided by law, to recover actual
damages or two hundred dollars ($200), whichever is greater. The court may, in its
discretion, award punitive damages and may provide other equitable relief that it
deems necessary or proper.. RIGL § 6-13.1-5.2(a).

VII. STATUTORY STRUCTURE RIGHT TO PRIVACY
Under RIGL § 9-1-28.1, it is the policy of this state that every person in this state
shall have a right to privacy which shall be defined to include, inter alia, the right to

be secure from unreasonable intrusion upon one's physical solitude or seclusion.

COUNT I - Telephone Consumer Protection Act — 47 U.S.C. § 227(b)(1)(A)(iii)

The acts of the Defendants constitute violations of the Telephone Consumer
Protection Act.

Defendants’ violations of the TCPA include, but are not limited to, the following:

i. Making and/or initiating a telephone call using an automatic telephone dialing

system or an artificial or prerecorded voice to any telephone number assigned
to a cellular telephone service, in violation of 47 U.S.C. § 227(b)(1)(A)Gii).

18
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 19 of 62 PagelD #: 259

138.

139.

As a result of Defendants’ actions, under ATUS.C. § 227(b)(3), Plaintiff is entitled to
an award of statutory damages of $500.00 for each such violation and an injunction
prohibiting future conduct in violation of the TCPA.

Since Defendants’ violations were committed willfully and knowingly, Plaintiff
requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(b)(3) for

each such violation.

Wherefore, the Plaintiff requests judgment against each Defendant for

140.

141,

142.

143,

1) Actual Damages pursuant to 47 U.S.C. § 227(b)(3),

2) Statutory Damages in the amount of $1,500 for “each such violation”
pursuant to 47 U.S.C. § 227(b)@);

3) Declaratory Relief that Defendant violated the TCPA.

4) Injunctive Relief to restrain and enjoin Defendant from calling Plaintiff.

5) Referral to the Rhode Island Attorney General for prosecution under 47
U.S.C. § 227(g).

6) Such other relief as the Court may deem just and appropriate.

COUNT II — Telephone Consumer Protection Act — 47 CFR § 64.1200(a)(1)(iii)

The acts of the Defendants constitute violations of the Telephone Consumer

Protection Act.

Defendants violated regulations of the TCPA including, but not limited to, the

following:

i. No person or entity may use an automatic telephone dialing system or an
artificial or prerecorded voice to any telephone number assigned to a paging
service, cellular telephone service, specialized mobile radio service, or other
radio common carrier service, or any service for which the called party is
charged for the call.

47 CFR § 64.1200(a)(1)(iti).

Defendants damaged Plaintiff by calling his cellular phone and using the limited

minutes plan in his cellular telephone plan that Plaintiff purchased.

As a result of Defendants’ actions, under 47 U.S.C. § 227(b)(3), Plaintiff is entitled to

19
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 20 of 62 PagelD #: 260

144,

an award of statutory damages of $500.00 “for each such violation” and an
injunction prohibiting future conduct in violation of the TCPA.

Since Defendants’ violations were committed willfully and knowingly, Plaintiff
requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(b)(3) for

each such violation.

Wherefore, the Plaintiff requests judgment against each Defendant for

145.

146.

147.

148.

1) Actual Damages pursuant to 47 U.S.C. § 227(b)(3);
2) Statutory Damages in the amount of $1,500 for each such violation
pursuant to 47 U.S.C. § 227(b)(3);
3) Declaratory Relief that Defendant violated the TCPA.
4) Injunctive Relief to restrain and enjoin Defendant from calling Plaintiff.
5) Referral to the Rhode Island Attorney General for prosecution under 47
U.S.C. § 227(g).
6) Such other relief as the Court may deem just and appropriate.
COUNT III — Telephone Consumer Protection Act— 47 U.S.C. § 227(c)(5)
The acts of the Defendants constitute violations of the Telephone Consumer
Protection Act.
Defendants’ violations of the TCPA include, but are not limited to, the following:
i. Placing more than one telephone call to Plaintiff's cellular phone without
consent in violation of the TCPA regulations.
As a result of Defendants’ actions, under 47 U.S.C. § 227(c)(5), Plaintiff is entitled to
an award of statutory damages of $500.00 for each such violation and an injunction
prohibiting future conduct in violation of the TCPA.
Since Defendants’ violations were committed willfully and knowingly, Plaintiff

requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(c)(5) for

each such violation.

Wherefore, the Plaintiff requests judgment against each Defendant for

20
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 21 of 62 PagelD #: 261

149.

150.

151.

152.

153.

1) Actual Damages pursuant to 47 U.S.C. § 227(c)6);

2) Statutory Damages in the amount of $1,500 for each such violation
pursuant to 47 U.S.C. § 227(c)(5);

3) Declaratory Relief that Defendant violated the TCPA.

4) Injunctive Relief to restrain and enjoin Defendant from calling Plaintiff.

5) Referral to the Rhode Island Attorney General for prosecution under 47
U.S.C. § 227(g).

6) Such other relief as the Court may deem just and appropriate.

COUNT IV — Telephone Consumer Protection Act — 47 CFR § 64.1200(a)(1)(iii)

The acts of the Defendants constitute violations of the Telephone Consumer

Protection Act.

Defendants violated regulations of the TCPA including, but not limited to, the

following:

i. No person or entity may use an automatic telephone dialing system or an
artificial or prerecorded voice to any telephone number assigned to a paging
service, cellular telephone service, specialized mobile radio service, or other
radio common carrier service, or any service for which the called party is
charged for the call.

47 CFR § 64, 1200(a)(1)(iii).

Defendants damaged Plaintiff by calling his cellular phone and using the limited

minutes plan in his cellular telephone plan that Plaintiff purchased.

As a result of Defendants’ actions, under 47 U.S.C. § 227(c)(5), Plaintiff is entitled to

an award of statutory damages of $500.00 for each such violation and an injunction

prohibiting future conduct in violation of the TCPA.

Since Defendants’ violations were committed willfully and knowingly, Plaintiff

requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(c)() for

each such violation.

Wherefore, the Plaintiff requests judgment against each Defendant for

1) Actual Damages pursuant to 47 U.S.C. § 227(c)(5);

21
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 22 of 62 PagelD #: 262

154.

155.

156.

157.

158.

159.

160.

161.

2) Statutory Damages in the amount of $1,500 for each such violation
pursuant to 47 U.S.C. § 227(c)(5);

3) Declaratory Relief that Defendant violated the TCPA.

4) Injunctive Relief to restrain and enjoin Defendant from calling Plaintiff.

5) Referral to the Rhode Island Attorney General for prosecution under 47

U.S.C. § 227(g).
6) Such other relief as the Court may deem just and appropriate.
COUNT V —RHODE ISLAND DTPA

The Plaintiff reasserts the facts and allegations contained in all of the proceeding
paragraphs and incorporates them into this Count.
Defendants violated the restrictions the RI DTPA imposes on them prohibiting
Defendants from using unfair and deceptive practices in violation of Rhode Island
General Law § 6-13.1 et seg.
Defendants engaged in false representation or deceptive means to obtain money from
a person.
Defendants engaged in harassment to obtain money from a person.
By calling Plaintiffs personal cellular telephone repeatedly, Defendants caused
Plaintiff to incur charges to his personal cellular telephone plan, and depleted the
minutes available in his plan.
Defendants’ actions were unfair to Plaintiff where Plaintiff had to go out of his way
to tell Defendants to stop calling him and to stop the charges from Global to accrue
to Plaintiff's cellular telephone plan.
Defendants’ actions or transactions are not permitted by the Rhode Island
department of business regulation.

As a result of such conduct and actions, the Plaintiff has suffered actual damages, in

an amount to be determined by the court, and he may recover therefore pursuant to

22
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 23 of 62 PagelD #: 263

162.

163.

Rhode Island General Law § 6-13.1-5.2.

Such conduct and actions of Defendants were willful, egregious, wicked, and, as a
result, the Plaintiff is entitled to punitive damages pursuant to Rhode Island General
Law § 6-13.1-5.2.

The Plaintiff is entitled to an award of attorney’s fees pursuant to Rhode Island

General Law § 6-13.1-5.2.

Wherefore, the Plaintiff requests judgment against each Defendant for

164.

165.

166.

167.

1) Actual Damages pursuant to RIGL § 6-13.1-5.2;

2) Statutory Damages against Defendants in the amount of $200 for each
violation of the Rhode Island Deceptive Trade Practices Act pursuant to
RIGL § 6-13.1-5.2;

3) Punitive Damages pursuant to RIGL § 6-13.1-5.2;

4) Costs and attorney fees pursuant to RIGL § 6-13.1-5.2;

5) Declaratory Relief that Defendants violated the Rhode Island Deceptive
Trade Practices Act;

6) Injunctive Relief to refer the Court’s findings to the Rhode Island
Attorney General for prosecution and forfeiture under RIGL § 6-13.1-5,
RIGL § 6-13.1-5.2(c), RIGL § 6-13.1-7, and RIGL § 6-13.1-9.

7) Such other relief as the Court may deem just and appropriate.

COUNT VI- RIGHT TO PRIVACY
The Plaintiff reasserts the facts and allegations contained in all of the proceeding
paragraphs and incorporates them into this Count.
Defendants violated the restrictions the privacy statute imposes on them prohibiting
Defendants from invading Plaintiff's privacy in violation of Rhode Island General
Law § 9-1-28.1 et seq.
As a result of such conduct and actions, the Plaintiff has suffered actual damages, in
an amount to be determined pursuant to Rhode Island General Law § 9-1-28.1.
The Plaintiff is entitled to an award of attorney’s fees pursuant to Rhode Island

General Law § 9-1-28.1.

23
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 24 of 62 PagelD #: 264

Wherefore, the Plaintiff requests judgment against each Defendant for
1) Actual Damages pursuant to RIGL § 9-1-28.1,
2) Costs and attorney fees pursuant to RIGL § 9-1-28.1;
3) Declaratory Relief that Defendants invaded Plaintiff's privacy.
4) Injunctive Relief to restrain and enjoin Defendants from violating
Plaintiff's privacy.
5) Such other relief as the Court may deem just and appropriate.
COUNT VII - Federal FDCPA — Abuse and Harassment
168. The Plaintiff reasserts the facts and allegations contained in all of the proceeding
paragraphs and incorporates them into this Count.
169. Defendants violated the restrictions the FDCPA imposes on them prohibiting
Defendants from abusing and harassing persons.
170. The restrictions are codified at 15 USC § 1692(d).
171. Defendants harassed and abused Plaintiff in connection with the collection of a debt.
172. Defendants caused Plaintiffs telephone to ring and engaged Plaintiff in telephone
conversation repeatedly or continuously with intent to annoy, abuse, or harass
Plaintiff at the called number.
173. Defendants repeatedly placed telephone calls to Plaintiff without meaningful
disclosure of the caller’s identity.
174. Defendants’ conduct was abusive and harassing to Plaintiff.
175. The Plaintiff suffered damages as a result of the conduct described in this Count.
Wherefore, the Plaintiff requests judgment against each Defendant for
1) Actual Damages pursuant to 15 USC § 1692k(a)(1),
2) Statutory Damages in the amount of $1,000 pursuant to 15 USC §
1692k(a)(2)(A),
3) Costs and attorney fees pursuant to 15 USC § 1692k(a)(3),
4) Declaratory relief that the Defendants violated the FDCPA,

5) Referral of this Court’s findings to the Federal Trade Commission,
6) Referral of this Court’s findings to the Consumer Financial Protection

24
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 25 of 62 PagelD #: 265

7)
8)

Bureau (CFPB) New England Regional Office,
Referral of this Court’s findings to the Rhode Island Attorney General.
Such other relief as the Court may deem just and appropriate.

COUNT VIII - Federal FD CPA — Communication in connection with debt collection

176.

177.

178.

179.

180.

181.

The Plaintiff reasserts the facts and allegations contained in all of the proceeding

paragraphs and incorporates them into this Count.

Defendants violated the restrictions the FDCPA imposes on them prohibiting

Defendants from communicating with consumers when Defendants know it is not

convenient to the consumer.

Defendants violated the restrictions the FDCPA imposes on them prohibiting

Defendants from communicating regarding the collection of a debt with any person

other than the consumer,

The restrictions are codified at 15 USC § 1692(c).

Defendants harassed and abused Plaintiff in connection with the collection of a debt.

The Plaintiff suffered damages as a result of the conduct described in this Count.

Wherefore, the Plaintiff requests judgment against each Defendant for

182.

1)
2)

3)
4)
5)
6)

7)
8)

Actual Damages pursuant to 15 USC § 1692k(a)(1),

Statutory Damages in the amount of $1,000 pursuant to 15 USC §
1692k(a\(2)(A),

Costs and attorney fees pursuant to 15 USC § 1692k(a)(3),

Declaratory relief that the Defendants violated the FDCPA,

Referral of this Court’s findings to the Federal Trade Commission,
Referral of this Court’s findings to the Consumer Financial Protection
Bureau (CFPB) New England Regional Office,

Referral of this Court’s findings to the Rhode Island Attorney General.
Such other relief as the Court may deem just and appropriate.

COUNT IX - Federal FDCPA - False/Misleading Representations

The Plaintiff reasserts the facts and allegations contained in all of the proceeding

paragraphs and incorporates them into this Count.

25
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 26 of 62 PagelD #: 266

183.

184.

185,

186.

187.

188.

Defendants violated the restrictions the FDOCPA imposes on them prohibiting them
from making false, deceptive, or misleading representations, including but not
limited to refusing to disclose Defendants were debt collectors.

Defendant failed to disclose in the initial oral communication with Plaintiff that
Defendant is attempting to collect a debt and that any information obtained will be
used for that purpose.

Defendant failed to disclose in the subsequent oral communication with Plaintiff that
Defendant is attempting to collect a debt and that any information obtained will be
used for that purpose.

During the communications with Plaintiff, Defendants used a name other than the
true name of the debt collector’s business.

The restrictions are codified at 15 USC § 1692(e).

The Plaintiff suffered damages as a result of the conduct described in this Count.

Wherefore, the Plaintiff requests judgment against each Defendant for

189,

190.

1) Actual Damages pursuant to 15 USC § 1692k(a)(1),

2) Statutory Damages in the amount of $1,000 pursuant to 15 USC §
1692k(a)(2)(A),

3) Costs and attorney fees pursuant to 15 USC § 1692k(a)(3),

4) Declaratory relief that the Defendants violated the FDCPA,

5) Referral of this Court’s findings to the Federal Trade Commission,

6) Referral of this Court’s findings to the Consumer Financial Protection Bureau
(CFPB) New England Regional Office.

7) Referral of this Court’s findings to the Rhode Island Attorney General.

8) Such other relief as the Court may deem just and appropriate.

COUNT X - Federal FDCPA - Unfair Practices
The Plaintiff reasserts the facts and allegations contained in all of the proceeding
paragraphs and incorporates them into this Count.

Defendants violated the restrictions the FDCPA imposes on them prohibiting

26
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 27 of 62 PagelD #: 267

191.

192.

193.

194,

195.

196.

Defendants from using unfair or unconscionable means while attempting to collect a
debt.

Defendants used unfair or unconscionable means to attempt to collect debt when
Defendant is not permitted by law to collect such debt.

Defendants used unfair or unconscionable means to attempt to collect debt by
causing charges to be made to Plaintiff for communications by concealment of the
true purpose of the communication. Such charges include, but are not limited to,
repeated calls to Plaintiff's cellular telephone from telephone numbers that did not
identify the caller as Global or a debt collector.

Where the Global’s caller ID does not clearly reveal the “true purpose,” calls to
Plaintiff's cell phone that generates usage charges violate the FDCPA.

Plaintiff was not able to determine that Defendant’s calls were about debt collection
before incurring the fees.

The restrictions are codified at 15 USC § 1692(f).

The Plaintiff suffered damages as a result of the conduct described in this Count.

Wherefore, the Plaintiff requests judgment against each Defendant for

197,

1) Actual Damages pursuant to 15 USC § 1692k(a)(1),

2) Statutory Damages in the amount of $1,000 pursuant to 15 USC 8
1692k(a)(2)(A),

3) Costs and attorney fees pursuant to 15 USC § 1692k(a)(3),

4) Declaratory relief that the Defendants violated the FDCPA,

5) Referral of this Court’s findings to the Federal Trade Commission,

6) Referral of this Court’s findings to the Consumer Financial Protection
Bureau (CFPB) New England Regional Office,

7) Referral of this Court’s findings to the Rhode Island Attorney General.

8) Such other relief as the Court may deem just and appropriate.

COUNT XI — Federal FDCPA ~— Validation

The Plaintiff reasserts the facts and allegations contained in all of the proceeding

27
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 28 of 62 PagelD #: 268

198.

199,

200.

201.

202.

203.

204.

205.

paragraphs and incorporates them into this Count.

Defendants violated the restrictions the FDCPA imposes on them prohibiting
Defendants from collecting a debt when Plaintiff disputed the debt and Defendants
failed to mail Plaintiff verification of the debt.

Defendants violated the restrictions the FDCPA imposes on them mandating that
Defendants provide Plaintiff a written notice within five days after initial
communication with a consumer.

Defendants failed to send Plaintiff a written notice containing the amount of the
debt.

Defendants never provided the account number of the underlying debt to Plaintiff.
Defendants failed to send Plaintiff a written notice containing the name of the
creditor to whom the debt is owed.

Defendants failed to send Plaintiff a statement that unless the consumer, within
thirty (30) days after receipt of the notice, disputes that validity of the debt, or any
portion thereof, the debt will be assumed to be valid by the debt collector.
Defendants failed to send Plaintiff a statement that if the consumer notifies the debt
collector in writing within the thirty-day (30) period that the debt, or any portion
thereof, is disputed, the debt collector will obtain verification of the debt or a copy of
a judgment against the consumer and a copy of such verification or judgment will be
mailed to the consumer by the debt collector.

Defendants failed to send Plaintiff a statement that, upon the consumer’s written
request within the thirty-day (30) period, the debt collector will provide the consumer

with the name and address of the original creditor, if different from the current

28
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 29 of 62 PagelD #: 269

creditor.

206. The restrictions are codified at 15 USC § 1692(g).

207. The Plaintiff suffered damages as a result of the conduct described in this Count.

Wherefore, the Plaintiff requests judgment against each Defendant for

1) Actual Damages pursuant to 15 USC § 1692k(a)(1),

2) Statutory Damages in the amount of $1,000 pursuant to 15 USC §
1692k(a)(2)(A),

3) Costs and attorney fees pursuant to 15 USC § 1692k(a)(3),

4) Declaratory relief that the Defendants violated the FDCPA,

5) Referral of this Court’s findings to the Federal Trade Commission,

6) Referral of this Court’s findings to the Consumer Financial Protection
Bureau (CFPB) New England Regional Office,

7) Referral of this Court’s findings to the Rhode Island Attorney General.

8) Such other relief as the Court may deem just and appropriate.

COUNT XII - RI FDCPA — Communication in connection with debt collection

208. The Plaintiff reasserts the facts and allegations contained in all of the proceeding
paragraphs and incorporates them into this Count.

209. Defendants violated the restrictions the RI FDCPA imposes on them prohibiting
Defendants from communicating to a consumer when Defendants know it is not
convenient to the consumer.

210. Defendants violated the restrictions the RI FDCPA imposes on them prohibiting
Defendants from communicating regarding the collection of a debt with any person
other than the consumer.

211. The restrictions are codified at RIGL § 19-14.9-5.

212. Defendants harassed and abused Plaintiff in connection with the collection of a debt.

213. The Plaintiff suffered damages as a result of the conduct described in this Count.

Wherefore, the Plaintiff requests judgment against each Defendant for

1) Actual Damages pursuant to RIGL § 19-14.9-13 (2)(a),
2) Statutory Damages in the amount of $1,000 pursuant to RIGL § 19-14.9-

29
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 30 of 62 PagelD #: 270

214.

215.

216.

217.

218.

219,

3)
4)
5)
6)

7)
8)

13 (2)(6),

Costs and attorney fees pursuant to RIGL § 19-14.9-13 (2)(d),
Declaratory relief that the Defendants violated the RI FDCPA,
Referral of this Court’s findings to the Federal Trade Commission,
Referral of this Court’s findings to the Consumer Financial Protection
Bureau (CFPB) New England Regional Office,

Referral of this Court's findings to the Rhode Island Attorney General.
Such other relief as the Court may deem just and appropriate.

COUNT XIII - RI FDCPA — Abuse and Harassment

The Plaintiff reasserts the facts and allegations contained in all of the proceeding

paragraphs and incorporates them into this Count.

Defendants violated the restrictions the RI FDCPA imposes on them prohibiting

Defendants from abusing and harassing persons.

The restrictions are codified at RIGL § 19-14.9-6.

Defendants repeatedly placed telephone calls to Plaintiff without meaningful

disclosure of the caller’s identity.

Defendants harassed and abused Plaintiff in connection with the collection of a debt.

The Plaintiff suffered damages as a result of the conduct described in this Count.

Wherefore, the Plaintiff requests judgment against each Defendant for

220.

1)
2)

3)
4)
5)
oS)

7)
8)

Actual Damages pursuant to RIGL § 19-14.9-13 (2)(a),

Statutory Damages in the amount of $1,000 pursuant to RIGL § 19-14.9-
13 (2)(b),

Costs and attorney fees pursuant to RIGL § 19-14.9-13 (2)(d),

Declaratory relief that the Defendants violated the RI FDCPA,

Referral of this Court’s findings to the Federal Trade Commission,
Referral of this Court’s findings to the Consumer Financial Protection
Bureau (CFPB) New England Regional Office,

Referral of this Court’s findings to the Rhode Island Attorney General.
Such other relief as the Court may deem just and appropriate.

COUNT XIV - RI FDCPA - False/ Misleading Representations

The Plaintiff reasserts the facts and allegations contained in all of the proceeding

30
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 31 of 62 PagelD #: 271

221.

222.

223.

224.

225.

226.

paragraphs and incorporates them into this Count.

Defendants violated the restrictions the RI FDCPA imposes on them prohibiting
them from making false, deceptive, or misleading representations.

Defendant failed to disclose in the initial oral communication with Plaintiff that
Defendant is attempting to collect a debt and that any information obtained will be
used for that purpose.

Defendant failed to disclose in the subsequent oral communication with Plaintiff that
Defendant is attempting to collect a debt and that any information obtained will be
used for that purpose.

During the communications with Plaintiff, Defendants used a name other than the
true name of the debt collector’s business.

The restrictions are codified at RIGL § 19-14.9-7.

The Plaintiff suffered damages as a result of the conduct described in this Count.

Wherefore, the Plaintiff requests judgment against each Defendant for

227,

228.

1) Actual Damages pursuant to RIGL § 19-14.9-13 (2)(a),

2) Statutory Damages in the amount of $1,000 pursuant to RIGL § 19-14.9-
13 (2)(b),

3) Costs and attorney fees pursuant to RIGL § 19-14,9-13 (2)(d),

4) Declaratory relief that the Defendants violated the RI FDCPA,

5) Referral of this Court’s findings to the Federal Trade Commission,

6) Referral of this Court’s findings to the Consumer Financial Protection
Bureau (CFPB) New England Regional Office,

7) Referral of this Court’s findings to the Rhode Island Attorney General

8) Such other relief as the Court may deem just and appropriate.

COUNT XV - RI FDCPA - Unfair Practices
The Plaintiff reasserts the facts and allegations contained in all of the proceeding
paragraphs and incorporates them into this Count.

Defendants violated the restrictions the RI FDCPA imposes on them prohibiting

31
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 32 of 62 PagelD #: 272

229,

230.

231.

232.

233.

234.

Defendants from using unfair or unconscionable means while attempting to collect a
debt.

Defendants used unfair or unconscionable means to attempt to collect debt when
Defendant is not permitted by law to collect such debt.

Defendants used unfair or unconscionable means to attempt to collect debt by
causing charges to be made to Plaintiff for communications by concealment of the
true purpose of the communication. Such charges include, but are not limited to,
repeated calls to Plaintiff's cellular telephone from telephone numbers that did not
identify the caller as Global or a debt collector.

Where the Global’s caller ID does not clearly reveal the “true purpose,” calls to
Plaintiffs cell phone that generates usage charges violate the FDCPA.

Plaintiff was not able to determine that Defendant’s calls were about debt collection
before incurring the fees.

The restrictions are codified at RIGL § 19-14.9-8.

The Plaintiff suffered damages as a result of the conduct described in this Count.

Wherefore, the Plaintiff requests judgment against each Defendant for

235.

1) Actual Damages pursuant to RIGL § 19-14.9-13 (2)(a),

2) Statutory Damages in the amount of $1,000 pursuant to RIGL § 19-14.9-
13 (2)(b),

3) Costs and attorney fees pursuant to RIGL § 19-14.9-13 (2)(d),

4) Declaratory relief that the Defendants violated the RI FDCPA,

5) Referral of this Court’s findings to the Federal Trade Commission,

6) Referral of this Court’s findings to the Consumer Financial Protection
Bureau (CFPB) New England Regional Office,

7) Referral of this Court's findings to the Rhode Island Attorney General.

8) Such other relief as the Court may deem just and appropriate.

COUNT XVI - RI FDCPA - Validation

The Plaintiff reasserts the facts and allegations contained in all of the proceeding

32
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 33 of 62 PagelD #: 273

236.

237,

238.

239.

240.

241.

242,

243,

paragraphs and incorporates them into this Count.

Defendants violated the restrictions the RI FDCPA imposes on them prohibiting
Defendants from collecting a debt when Plaintiff disputed the debt and Defendants
failed to mail Plaintiff verification of the debt.

Defendants violated the restrictions the RI FDCPA imposes on them mandating that
Defendants provide Plaintiff a written notice within five days after initial
communication with a consumer.

Defendants violated the restrictions the FDCPA imposes on them mandating that
Defendants provide Plaintiff a written notice within five days after initial
communication with a consumer.

Defendants failed to send Plaintiff a written notice containing the amount of the
debt.

Defendants never provided the account number of the underlying debt to Plaintiff.
Defendants failed to send Plaintiff a written notice containing the name of the
creditor to whom the debt is owed.

Defendants failed to send Plaintiff a statement that unless the consumer, within
thirty (30) days after receipt of the notice, disputes that validity of the debt, or any
portion thereof, the debt will be assumed to be valid by the debt collector.
Defendants failed to send Plaintiff a statement that if the consumer notifies the debt
collector in writing within the thirty-day (30) period that the debt, or any portion
thereof, is disputed, the debt collector will obtain verification of the debt or a copy of
a judgment against the consumer and a copy of such verification or judgment will be

mailed to the consumer by the debt collector.

33
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 34 of 62 PagelD #: 274

244, Defendants failed to send Plaintiff a statement that, upon the consumer’s written
request within the thirty-day (30) period, the debt collector will provide the consumer
with the name and address of the original creditor, if different from the current
creditor.

245. The restrictions are codified at RIGL § 19-14.9-9.

246. The Plaintiff suffered damages as a result of the conduct described in this Count.

Wherefore, the Plaintiff requests judgment against each Defendant for

1) Actual Damages pursuant to RIGL § 19-14.9-13 (2)(a),

2) Statutory Damages in the amount of $1,000 pursuant to RIGL § 19-14.9-
13 (2)(b),

3) Costs and attorney fees pursuant to RIGL § 19-14.9-13 (2)(d),

4) Declaratory relief that the Defendants violated the RI FDCPA,

5) Referral of this Court’s findings to the Federal Trade Commission,

6) Referral of this Court’s findings to the Consumer Financial Protection
Bureau (CFPB) New England Regional Office,

7) Referral of this Court’s findings to the Rhode Island Attorney General.

8) Such other relief as the Court may deem just and appropriate.

JURY DEMAND

Plaintiff requests a trial by jury on all Counts.

The Plaintiff,

/s/ Christopher Laccinole
Christopher M. Laccinole

23 Othmar St.
Narragansett, RI 02882
chrislaccinole@gmail.com

34
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 35 of 62 PagelD #: 275

CERTIFICATE OF SERVICE

Plaintiff certifies that on April 28, 2021 he mailed a copy of the foregoing First Amended
Complaint with all exhibits to Defense Counsel via USPS first class certified mail, return
receipt requested at:

Jeffrey C. Ankrom
Locke Lord LLP
2800 Financial Plaza
Providence, RI 02903

35
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 36 of 62 PagelD #: 276

EXHIBIT
A
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 37 of 62 PagelD #: 277

Print MU] Filing ‘Page 1 of 15

 

 

‘Gtobal Payments Check Services, LLC, (953438) Company (MU1) ACN Processed aubrnitied 19/19/2020 by

 

 

 

Business Activities

 

 

tem: Tate
Business Activity: Active debt buying {undertakes direct collections wn BeeoUTAS),,

Industry: Debi
‘State(s}: Connecticut, Marylsnd

 

ham 2 of 2:
Business First j party debt collection
Activity:

Industry: ‘Debt

Starefs): Alsbama; Alaska, Anger, ‘Arkansas, Califomia, ‘Colorada, Connecticut, Delaware, District of
‘Columbia, Florida, Georgia, ‘Guam, Hawaii, kdaho, illinads, indiana, lown, Kanes, Kettucky,
Louisiana. Maine; Maryland. Massachusetts, Michigan, Minnesota, Mississippi, Missouri, Montana,
‘Nebraska, Nevada, | Hew Hanipshire, New Jersey, New Mexico, Newyork, North Caroina; North
Dekote, Ghia, Cklahams, Oregon, Pennsylvania, Puerto Rico, Rhode island, Scuth Carolina, South
‘Dakota, Tennassea/ Texas, “US Veegin | Islands, Utah, Vermont, Veginia, Washington, West Mirginia,
Wiseanein, Wityorming

 

 

 

 

License/Registration Information

 

 

ita i of 4:
Reguiator: ‘Connecticut:

License: Consumer Collection Agency Licents

 

‘hem Zora:
Regulator: Maryland
License: Collection Agency Licanse

 

Hem 3 of 4:
Regulator: Massachusetts:

License: Debt Cofactor

 

tem 4 of a.
Regulator: Rhode island -

License: Debt Collector Registration

 

 

 

 

 

 

— 3/25/2021 :

 

 
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 38 of 62 PagelD #: 278

Print MU Filing Page 2 of 15

Identifying Information

 

 

Entity narne and EIN:

Eintity Name: Global Payrrierits Glieck § Services; LLC.
| IRS Employor Identification Number: ENE

Main address:

 

‘Number & Streat: 6215 West Howard Street

‘Gity: Niles

State: Ininyois
Country ! Province: United: States,

‘Postat. Cade: 0714

Business phene, tax and email auldiresc: :
‘Business, Phone: 847-471 700°
Toll-Free Numiber {lar consumers}:
Fax Line: Ba7-647-2286
Email Address® | wansglobalycam

 

 

Mailing address:
PO Box or Number & Strect: 6216 West Howard Street.

City: Niles
‘State: Minois-
Country / Province: United States
Postal Goede: GOTH.
Any other business locations? |

_ Other thar the main office dees the Ho
entity conduct, business with
OOS UMEPS through branch offices
er ather business locations?

 

 

 

 

 

 

 

No Record found.

Resident/Registered Agent

 

 

 

| Nem Tors: a
Company: ie Déyporation System
Firat Name. | :
Last Name:

Title:. registered agent:

 

 

 

 
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 39 of 62 PagelD #: 279

Print MUI Filing ‘Page 3 of 15

Business Address:. 40 FEDERAL STREET
ths ret: prowkis Pty Bn).

city: Boston
“Statey Mas sachusels
Country i Provinces, United Stales
“Postal Code: 2410
‘Business Phones (617) 7S7+400
Pax Line! |
Email Address:

 

tem 2 of 8:
Company; CT. Corporation
First Name: NIA,
‘Last Name: NIA,
Title: NIA:

‘Business Address: 10 Weybosset sireel
(Da eat provide PO Bax]

City: “Provwidenod
“State: Rhode island,
Country, ' Fravince:, United States
Postal Code: 07503,
Business Phoae:: 401-3619 F400
Fax Line:
Ernail Address:

   

 

 

Htem 3 of 5:
Company: 6:7 Comporation System
‘Firet Mare: NA
_ Last Names WA
Tithe: reqaxtered: agent

‘Business Address: ‘Dae Gomporale Genter
* (fie ant pvde PD Box) Floor 17 ,

 

city: Hartford
‘State; Goneeeical
Country i Provines: United. Stales*
Postal: Code: 05103-3220
Business Phone: aep- 7h-o044
Fax Line:
Email Address:

 

 

Heim 4 of 5. es
Company: The Corporation Trust Int.

First Name:

 

 

3/95/2021.

 

 
Case 1:21-cv-00090-WES-LDA Document9 Filed 04/30/21
Print MUI Filing:

LastName: |
Tite: registered agent,

Business Address: 2405 York Rd., Suite 201
(Dia fol prenviste PO). De]

City: Lutnenvilé Timonium
“State: Marylind
County | Provinge: Lined States
Postal Gode: 21093"
Business Phone: 655-316-5944 +
Fax Line:
Email Address:

Page 40 of 62 PagelD #: 280
Page 4of15

 

Hem 5.065:
_ Comipany: GT CORPORATION SYSTEM
First Name!
Last tame!
Title: Resident Agent
Business vddresa: 206 § CORONADO AVE
(Do nok provide PO Box)

city: ESPANOLA,
‘Stater New Mexico,
Country / Province: United State
Postal Gado: 87532.
Business Phone: BSSshasiet aS
Fax Lines:
Email Address:

 

 

 

 

Web Addresses

 

 

Hem oft:
Website Address: globalpaymentsinc.cam

ls your company accepting applications or No
transacting business through this website?

 

 

 

 

‘Contact Employee: Information.

 

 

‘eam 1 of 4:
“[] Primary Company Cantact

fa] Primary Consumer Complaint (Regulator)

 

B.. 3/25/2021

 

 
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 41 of 62 PagelD #: 281

Print MU1 Filing Page 5 of 15

“First Hamer George:
Last Name: Carson.
‘Tithe: Senor Operations. Manager
Email Address: george: carsongiglobalpay. tort
‘Mailing Address: B2i8 West Howard Street

“City: ‘Niles.
State: Hingis
Country. r Provinee: United States,
Postal Gode: 60714
Business Phome: 447-4761 TO0x560 |
Fax Line: 266-501 ry
Industry Type(s}:
Arcals) oF Responsibility:
‘State{s}:

 

 

 

 

Books and Records. Information.

 

 

Hem 4 of 1:
Company: Global Payments Check Services, inc.
First Name: Keith
. Last Name: Gardeck
Business 6205 West Howard Street
“Address:

tte aol peueides
‘ PO Bia)

‘City: ‘Nliles
‘State: illinois:

Couniry f. United Staless
Province?

Peete 60714
‘Code:

Business’ 847-47-1700x591
Phone:

Fax. Line: 886-581-7317

_ Email keith. gardecki@iglobalpay cam
Address: ~ S

industry Debl

Type(s}:

Stateds); Alaska, Alabama, Arkansas, Anzona, California, Colotade, Coameclicut, District of Columbia,
‘Davlaware, Flocieiat; Georges, Guam, Hawail, Teas, Idahe, lenis, Inetiana; Kanes; Kentucky,
‘Louislana, ‘Massachusells, Maryland, Maine, Michigan, Minnesota, Missouri, Mississippi, Montana;
North. Carolina, ‘Horlit. Dakota: Nebraska: New Hampshire, New Jersey, New Mexico, Nevada, haw

 

 

 

   

5252021.
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 42 of 62 PagelD #: 282

Print MU] Filiie “Page G.of 13

York, Ohia, ‘Oklahoma, Oregon, Pennsylvania, Pueda Rico, Rhode, Islanth: Savills Carolina; Sauth
Dakola, Tennesse, Texas: Utah. Virginia, Us. Virgin Is slands; Verman|, Washingtan, Wisconsin,
Wiest Virginia, Wiyoring -

Comments:

a (Plesse fim poor fed entry bo Ez charactors)

 

 

i
Approvals and Designations

 

: ‘Provide the information below tor any ‘approvalsidesignations t the company. currently holds.
a Federal Housing Administration (FHA) Appraval
’ Approval Types:
‘Main Approval a
fs Binnie Mae approved Issuen/Servicar - iain Approval i it:
Lal Fannie: Mac ‘appraved Seliay/Servicer- Main Approval a
i] Freddie Mac approved | Seller/Servicer ~ Ntain Approval ite
oO CJ Veterans Administration VA) Approved Lender - Main: Approval we
o Fine N Registration - Micaniesy Sanvice Business only
“Confirmation #:
Filing Pate: :
ai CJ Unifern Debt Management Servites Act Acizeditalion
og Guaranteed Rural Housing: iGRH) Approval - bain Approval He.
Oj Other ApprovaliDdsignation’
fame of Approval(eaignation:
ApprovalFlegiziration

 

Will the entily engage in-any hon-financial services related business? No
‘lf "yes" briefly describe.

 

Will the entity occupy or share space with any person(s) engaged in financial services-+elated activity? No.
‘HW "yes" briefly describe, a Se

 

 

 

Bank Account Information

 

 

| Ham:1 of 2:
Account Type: Operaleng

‘Amount of LetteriLine of Credit:
fru dothay sige, forans, ate ahecirped rain

Lettering of Credit Expiration Date:

 

B.._3/25/202 |

 

 

 
Case 1:21-cv-00090-WES-LDA Document9 Filed 04/30/21 Page 43 of 62 PagelD #: 283

Prot MU1 Filing. ‘Page 7 of 15

“PO Box or Number & Street: (aaa

Cy:
state:
Country / Province: United States
Postal Code: Haz -
ee |

| Industry Type(s}: Debt:

 

Mera 2. af 2;
- Account Type: TrustiPrimary

Amount ‘of LettertLine of Credit:
(no dea sign, comma, Or decirend oir}

LetteriLine of credit Expiration Date: -
(ane)

ot
PO Box or Number. & Street: a

cy:
State:
| Courtry | Province: United Stetes
Postal Code: : |
_ Account Number; oe

‘Motes:

Industry Type(s}: Debt

“State(s): ‘ eee

 

 

 

 

 

Legal Status

 

 

 

Fiscal year ‘end {MMO}: i231
if publicly traded, please insert, stock symbol:
Formation State: Minos
.Formatioty Country f Province: Unitad States,
Formation Date: FONQI96¢
Legal Status: Linvited Liability Company

   

3/25/2021.
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 44 of 62 PagelD #: 284

Print MUI Filing Page 8 of 15

| Pescription:

 

Affiliates/Subsidiaries

 

 

| Heavy 4 of 2: _ -
Entity ID:
Alfitiste/Subsidiary | Global Payments Gaming Services, Ane.
Name:

Control Relationship: Subeitiary (Entity Controls}
‘Number’ and Street: 6215. yi. Howard Bt

Gity: hiles.
‘State: Wings:
Country | Pravinee: United States
Postal Cage: 60714

Description; Entity provides check quarantes and verification sanwices oe, merchant in ihe ejay
“predagtrg

 

item 2 of 2: Oo
Endity ID; 833432
AffiliatefSubsidiary Namer Global Payment Check. Rec ery Services, tre
‘Gantral Relationship; “Affiliate {Under Common Contral):
Number. and Street: 6215 Vest Howard Stree!

- Gily: Niles
State: Wingds
Country (Province: United States
"Postal Code: 60714
Description: Enliy.is.athind padty debt collechon agency:

 

 

 

 

Financial Institutions.

 

 

 

No Record found,

Disclosure Questions

 

 

Criminal Disclosure
: (A) Has the entity ors control affiliate ever; :

(1) been convicted of or pled guilty or nolo contendere ("no contest") in-a domestic, foreign, or No
military court ‘te. any. felony?

(2) been charged with any felony? Wo
(B}

 

3252021

 

 

 

 
Case 1:21-cv-00090-WES-LDA Document9 Filed 04/30/21 Page 45 of 62 PagelD #: 285

Print MUL Filing Page 9 of 15

yin the past 40 years nas the entity or a control attilate been convicted of or pled guilty or nolo Ne
contenders ("no comest”) ina domestic, foreign, or military court to bommitting or conspiring to
-commita misdemeanor involving: (i) financial services ora financial services-related business,

fil} fraud, (12) false statements of omissions, (iv) theft or wrongful taking of property, (v) bribery,

(vi) perjury, (vlly forgery, (vil) counterfeiting, or (i) extortion?:

@ Are there pending charges agalnstt the entity ora control affiliate for a misdemeanor, Specified No
In (BAY? “

Regulatory Action Disclosure

(cy In the past 4 o years, has any. State or federal regulatory agenny or foreign fi financial regulatory: authori ity
oF selfrequiatory ‘organization {SRO} ever:

th found the entity of a control affiliate to have made'a faled statement or omission of been Be:
dishonest, unfair or unethical?
(2) found the entity or. a contro! affiliate to have been involved ina. violation of a financial “Yes:
senineselated Teguiation(s} oF statute(s)?-
(3) found the entity ora control affiliate to have been acause of 2 fivearechal servites-telated Ne

: business: having| its aisthorization to do ‘business denied, suspended, revoked | or restricted? ©
{4 entered an order apainst the erly « or a control antaiate in connection with a ‘nancial serviees- Ne.
“Felated activity?)

(5) denied, suspended, of revaked the entity's ora control affiliate's registration or license or = No
otherwise, by order, prevented it from associating with a financial servicestelated business or
festicted fits activities?

 (B) Has the entity's ora control affiliate’s authorization to: act as an attorney, accountant, or State or .No
federal contractor ever been revoked of suspended?
(jb therea pending regulatory z acon proceeding against ihe entity or a contral attiiate tor any No
‘alleged violation described In {G) through (Dy?

Evil Disclosure -

(F} Has any domestic or forelgn court:

(1) iin the past ten years enjoined the entity or a control affiliate in connection with. any finantial Na
: serviceselated activity? |

(inthe past ten years found the entity or a control alliliate was inwolved in a violation of any. Ma
financial services elated, statute[s} oF reguiation{s}? a

_(@) in the past ten years dismissed, pursuant to a. settlement agreement, a financial services- Mo
related civil action brought against the entity or control affiliate bya State or foreign financial
reguiatory authority?’
|(G) 18 there & pending financial sérvices-related lull action inwhich the entity ora control affiliate is. No
named for any alleged, violation. described infFy?

“Financial Pisclosure
(H} In the past ten years has. the entity ora controt affiliate been the subject ofa bankruptcy Ho
petition?
(O Has Fs bonding company. ever denied, pald out. on, or revoked a borid for the entity? Noe
(4) Does the entity have: any unsatisfied judgments ‘OF. liens against it? Ne

 

 

 

Disclosure Explanations.

 

 

Ihara 1 fT:
‘Event Explanation Detail

 

Bg 32s2021- _

 
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 46 of 62 PagelD #: 286

Pont MUL Filing Page lof 15

Briet
’ Description of
‘Explanation:

_ Disposition; Closed
Provide
Deserlption.
onty it
Disposition is is

 

Applicable Questions

Regulatory Action Disclosure -
(e) In the past 10 years, has amy State or federal regulatory agency: or foreign financial requiatory
authority or seltteguiatory organization (SRO) ever:
(2) found the entity oF a contrat affiliate to have been involved in a Wolation of a financial services- -
related reguiation(s} of stalute(s}?

‘Supporting File
Ho Record found.
“Explanation Status! Existing

 

 

 

Direct Owners and Executive Officers.

 

‘em 7 of 3:
| Entity ID:
Full Legal Name: Global Payments Direct, Inc -

Fite: Sole Quer

Percentage of Ownership: 4100
Stock Symbol:

SSN or Ein:
Individual or Company: Company:

 

hem 2 ef 35

 

Entity (Ds 1ea02 1d

 

Full Legal Name: Justice, Christopher E Brian
Title: President
Percentage of Ownership: 0
Individual or Company: Individual

 

 

   
Case 1:21-cv-00090-WES-LDA Document9 Filed 04/30/21 Page 47 of 62 PagelD #: 287

Print MUL Filing. Page 11 of 15

 

Entity WDETIG2O5G
Full Lenal Rare: Wiliams, LaMoite J i
Tithe: Secrelary.
Percentage of Gumership: 0
individual oF: Company: Individual

   

 

 

Indirect Owners

 

| Hem 1 of t:

Entity Io:
Peal Legal Name: Global Payrnents hace
Wnabeduals: ‘host, Firat, aici

 

 

q

 

Chunership Type: ‘itimate Parent
Stack Symbol: GPN-
SSN or EIN: ee
Equity: Ovmer in Which Interest is ‘Held: Global Paymenls Diresd, [nee
Pergentage af Ownership: 100 :
‘Gontral. Parson: Mo
Individual Or Company: Company

 

 

 

 

Qualifying Individuals

 

 

‘Hem 1 oF 3:
Entity ID: ‘S5SBG2 ‘View Individual Snapenet
Full Legal Nate: Carson, ‘George:
Title: : Senior Operations Manager
Business Address) 6215. W. Hoard SL
 Bily: Nites
“Biale:. |lenals
Country t Provinee: + Limited States.
Postal Code: BOTT:

   

 

. ‘Pending Creation Pending Removal
Current ladustry Types . __Effective Date’  Ellective Date

Yes Debl
“Pending Creation - Pending Removal
Current States. “Effective Date. —_ Effective Date

Yes  Massachuse
Yes Rhode [sland

 

ftem2otk
Entity iD: 206o338 View Individual Snapshot,

 

 

Full. Legal Narre: Thomason, Bryan

 
Case 1:21-cv-00090-WES-LDA Document9 Filed 04/30/21

Page 48 of 62 PagelD #: 288

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Print MU] Filme: Page 12 of 15
Title; Colections Agency Manager
Business Address? ati Lornas Blvd. NW) Ste. 200
City: ‘Albuguatque
| State: New Mexibo-
Country | Prowinee: United States -
PostalCode: 87102:
Pending Creation Pending Removal:
Current Industry Types Effective Date Effective Date.
Yee Debt
ee Pending Creation Pending Removal
uirrent - States Effective Date Effective’ Date .
“Wee New Mexico
hhem 3 of 3:
Entity iD: ‘1152956 - “Yierwe Individenal Snapshot
Full Legal tame: Willams, LaMontia Jt
‘Title: Secretary, General Counsel & Director
Business Address: 6215 aN. Howard st
City: Niles
State: Minos
Country / Province: Whited States -
Postal Code: 60744.
‘Pending ‘Creation Pending Removal
‘Current ladustey Types Effective Date Effective Date:
tes. Daatt |
sae ‘Pending Creation Pending Removal’
Current States” Effective Date Effective Date.
Yes Conrieetieut
Document Uploads
View Bocument Uploads in Company Composite
View Redine
Evparad aa | Cotager at
Business Plan (6)
File Name: State Status Reason tor Change. Submission Date” Comment.

 

 

 

 
Case 1:21-cv-O0090-WES-LDA Document 9

‘State Status.

   

_Fite Name:

 

Certificate of AuthorityiGood Standing Certificate (6)

Filed 04/30/21 Page 49 of 62 PagelD #: 289

 

‘Company Staffing and Intamal Policies (2).
File Name State “Status:

ha’

NIA. Exeting

 

Reason for Change -

 

‘Submission Date Comment

“AAT2018 4-22-12 PM

JOH 2017 12:38:10 PM.

 

Document Samples oN :
Fit Name Status

—_-—

 

   
 

 

 

3/25/2021,

 
Case 1:21-cv-00090-WES-LDA Document9 Filed 04/30/21 Page 50 of 62 PagelD #: 290

Print MUI Filing Page 14 of 15

Formation Document (5)
File Name. State ‘Status. ReasontorChange Submission Date Comment |
“= Global . NIA. Existing FRB A261 PM Articles of

Payment i: PES oe ‘Organization,
inet”

Sonect,
(OtHL-Cent |
at:

Copy

Arbcles of Org,

B(ipat
= RISOS . MAL (Existing: TiSr018 12:28:16 Pat: Rhee leland

 

 

 

a (3)
File Name ‘State Siatus- “Reason tor Change = Submission Date Comment
a". GPOSt Ong Chart “NIA; - Existing 1 Vere01y 4:50:51 PM
2017 pat a _ coe

 

‘Organizational ChartiMeseription (2)
_ File Name State Status Reason for Change Submission Date Comment

“= iGlobal Payments. WA Existing Sa2017 3:11:44 PM
piss Exiting ee '
“ince,
‘Organizational
Chart pdf.

 

 

 

 

5/25/2021

    
Case 1:21-cv-00090-WES-LDA Document9 Filed 04/30/21 Page 51 of 62 PagelD #: 291

 

 

Surety Bond (@)

File Name. ‘Status Reason for Change ‘Comment

   
 

 

 

 

 

“ad

 

 

 

 

 

7 | r . . uh
| F
S
>
; 1 i f |

 

 

 

 

 

    

J. 3/25/2021

 

 
Case 1:21-cv-00090-WES-LDA Document9 Filed 04/30/21 Page 52 of 62 PagelD #: 292

RISOS Filing. Number::201996120220 Date: 6/10/2019 7:13:00 PM

aa

- State of Rhode Island and Providence Plantations.
eG Department of State - Business. Services. Division
tary!

Application for. Registration
FOREIGN. Limited Liability Carmpany

—} Filing Fees $180.00

  

‘Pursuant io the provisions of RIGL 16-18, the undersigned Foreign limited lshaity: company. hereby :
‘applies for a Certificate of Reyistration lo transact, business inthe State al Rhode Island, net for that | 2 2
‘purpose submals the follawng salement

 

 

 

(1. The name of the iimited libility compare 1s: Global Peyments Check Services LLC: sea
my oNAL
: rt

 

Is this company organized 1 iis slate or country of Formation as a low-profa firriled kability company?” "Yes L] 6 Cy.
The parne, if different, wer which it proposes lo register'and transact business in Rhode Island ist.

 

 

 

2, The LLG 1s engaged under the laws of Ablinods ,

@. The date of fs organization is; 484 nie 3{ [ef 2oir-
And the period of ite duration ist CHECK GNE BOX ONLY
DE] Penpetual don-gona)

1 Date certian for distctation _

4, The name and addré<e of Ihe restart aqenUibice i in Rhode. Island i ist.
Agent Name:
ctr Corporsion System

Streel Address (NOT 2 P.O. Bax):
a50 Weterans Menacial Parkway, Suite TA

 

 

 

 

 

 

 

CityTown TState Zp bade
Y Hat Providence RHODE: ISLAND opsia ~

§. The purpose of purposas which it proposes ta pursve in the tratsaction of business it Rhoda Island are:

 

 

 

CHECK VALIDATION SERVICES

 

Check the text to indicate an attachment C]

 

 

Fa oo
Blvision of Busingss Sorediees ;
44B Wl River Steet, Provence, Rhode Istand Oee4-2615 uN 1 02 “3

Phone: (901) 222-5040

Wabalies wan s68.0Lg00 | BY Ob e323

i a ee

 

 

FORM 480 - ried DU

AUTON Hee eatayh Alt Flot’

 

 
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 53 of 62 PagelD #: 293

@:

6. The Al Department of State is appoinied the agen ef the foreign benited Kebility company for service of peoeess If, at
| ary time, thar is Ae, resident agent of if the resident agent cannot be found or served Following Ihe exercise of ieasonable.
diligence,

7. The address ofthe office required to be maintained in the 1 slate oF poundry ofits organization by the laws of thal sing ef, 2
if nalsa required. ‘of the peinelpal atice of the fveign Emilad fiatubty company ig

 

 

“2 SO LASALLE $1) SUITE SL4; Chicago, 11. Gl

 

8. The mailing address. for the linsled kability: compatiy igy

“209 50 LASALLE ST, SUITE 814. Chicago: 1 60604

 

5. Management of the Limited Liahilay Company, ‘Manyers Managed
The Linited Liabilily Gospany 15 to be managed by: CHECK, ONLY. ONE BOX”
C1 By its members (lf you have: checked thi bax; goto Sechen 9, (DO NOT fill cout the chart below.)

 

ba By one (4) of mare managers: (hist managers below)
MANAGER ADDRESS.

 

 

‘Global Payments Direct Ing. | 110 Glenlaku Phawy KE Auina GA 10328

 

 

 

 

 

 

 

1. This gopleation must be accompanied by 3 Certdicate.o ft Good Stand nigtl att fe :
formation dated wahin 60 days at ihe date of fling, oe

it. Date when this application tor Cerlificete of Registration Vall be facts: CHECK ONE BOX ONLY.
fF Date received (Upon fi filing)

tatys from the stale or country of

 

 

 

(C] Later effective date (Date must be no more than 40 days from the date.cf filing):

Under pematty of pequry, Leciare and alfirrn tat i nave axaminad ihis Apphestion for Registration chug any
arcompanywig pltechments. and that ai slafennents contained haven are frog avtd CeO.

 

 

 

 

 

Type.or Print Name of LUC: Date
-Grobal Payments Check Serviers Lut BAAITIONS
Signature ‘of Authonged Perse -

 

 

_¢$ ‘ Siacoart anes DOCUMENT HERE
Bats

 

If you have any quastions, plaase « call us af (401} 222-3040; ‘Monday through Friday,
between a20 aan. and 4:39 p.m, oF amall, corporations@sossLgov. FOAM AO - Revised OVA

SHUERE 01th Sey Willen Keres tsi”

 

 
Case 1:21-cv-00090-WES-LDA Document9 Filed 04/30/21 Page 54 of 62 PagelD #: 294

File Number 0686985-8

 

To all fo. whom these Presents Shall Come, Greeting:
IT Jesse White, Secretary of State of the State of Ilinois, do hereby

‘certify that I am the keeper of the records of the Department-o if

‘Business Services. | certify that

GLOBAL PAYMENTS CHECK SERVICES, LLC, WAVING ORGANIZED IN THE STATE OF
ILLINOIS ON ‘ALIGUST 30,2018, APPEARS TOHAVE © OMPLIE Db WITITALL PROVISIONS
“OF THE OMITTED LIABILITY COMPANY ACT. ‘OF THIS STATE, AND AS ‘OF THIS BATE IS
IN GOOD STAKDING AS A DOMESTIC LIMITED LIABILITY COMPAKY IN THE STATE.OF
ILLENOTS.

In Testimony Whereof, t hereto set’

my hand and cause fo be affixed the Great Seal of
the State’ of illinois, this. 7TH

day. of JUNE AD. 2019 .

  

€
nadrerticstign © 1sisaarens vnribipheg antl OGM iD ‘fe
Authenieate at, np Dewey cybarcringalieies cam: ‘ °

SSEBSICEMAY OF STATE

i

 

 
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 55 of 62 PagelD #: 295

RISOS. Filing Number; 201996120220 Date 6/10/2019 1:13:00 PM

= & State of Rhode’ Leland and. Providenca Plantations:
| Department of State | Office of the’ Secretary of State

ff Nellie M; Gorhea, Secretary of State

 

|, NELLIE M, GORBEA, Secretary of State of the State of Rhode Island
-and Providence Plantations, hereby certify that this dacument, duly executed in:
accordance with the provisions of Title 7 of the’General Laws of Rhode Island,.as

amended, has been ‘filed in this office on this day,

June 10, 2079.01:13 PM

 

Nellie M. Gorbea
Secretary OF. State

 

 

 
Case 1:21-cv-00090-WES-LDA Document9 Filed 04/30/21 Page 56 of 62 PagelD #: 296

RLSOS. Filing Number: 201907300390 Date: 7/24/2019 11:27:00 AM

 

  

 

 

 

 

Pe wae at

 

 

 

 

 

ei ee penn aha I

 

 

 

 

252 118 samme tame ee BEET He gp er emt me a peed I

Slate of Rhode tstand and Providence Fiseiatian ee mi 4
ae Department of Stata - Business Services Division " 2 an |
obs ‘ ad me i

: “Zoe #1; t
Faure i
‘Amandmeant to Application for Reglstration rm RB |
FOREIGN Limited Leability. Company Pi
3 Ly 4
Filing Foe: $50.08 Bite |
: ~— es. j
- Parse te ba preston of GL: 716-52 the undenignad foralgr lnnited Babe pampony hareby 7 Oto
-amonds Ils Application fora Cedtificste of Replatralion to frangact buslnass In (he state of ne inh. |
“Rhode. island, ard for’ thal purpose submits the following stalement . :
1. Entity tO Munber: . 3 The. namo: of the ‘lod fab eampari ig:
mOTeggaay Global Payments Cheek Services, LLC
[2 Mth onity’s name ts changing, i
alate: ihe mow nemo; ot
Cheek the bow la indices na chang a Bt 3
Sa. Tha entity's name, i diferent, ‘ ,
under whlch It proposed io register ard
transact baningss in Rhode istandiss
4-H te panod of duraben has changad In the horse siete, complet iha fatowing section; CHEGK ONE Box ORLY. .
PCIe Porjatusl {on-going} i
() perc orstaln. tor disschutlon ; ee :
Chyek ihe bax to Indisale na change
Sitka required eddross of the office to be maintained in the anne er paunry: ed Ibs oigarezation hes changed, cacipiate: -
fea tolkowing sectioa: ,
| hack the box lo indfeste no change D4 |
E. Hf fhe rraling address Is changing completa tha tyawing section”
hack the bow to indicate ne changa DS)
tr. Tine waay's pUTpOTs 1 B changing samples ihe following: section: “Tho row puvpose shoul! bncuds ALL wetivlly fa bs”
imasaciod ity Des Ste of Fics fefaind.
Check tha bax ip indlests an atlachentril[_) _Dhoetk thi boot te indiéata no change
MAIL TO: nF F \
Dbetalen of Bushiove Jeqvicen PILED ‘Sia
448 WL River Sarang,; Pronldanea, Rhode Island 02504-26415.
Phvone: (40/1) 222-3040 : j
Websites envi. go WL 1 4 209
mt Ca. 2 Yor |
CY eet
el

 

Fie aS + Riresod. Tate

AN AGRE Mey rn ent me meen Be

 

 

 
Case 1:21-cv-00090-WES-LDA Document9 Filed 04/30/21 Page 57 of 62 PagelD #: 297

treme ee eae tee om

 

8, [he mmagemant structurt fas changed, romplote the fallgwéng section:

The Liming Liabilly Company ls tobe managod by; CHECKONLY.ONE BOX

ils member(s) (you have chached this box, skip to Saction 9. bo NOT out line chest an the nat pags.)

ol One {1} or eee manager{s} Of the tindied pabllay company hes menagor{s} atthe tr af tho fang of tls Asvendment

Ee 4o the Application tor Registration, stale the namo and address ofeath manager)
MANAGER ADORESS

 

 

 

 

ae, cae HBA. ¢ ARGU ce wo i a eens nea ai AS

 

 

mmm, soem ete ek 98

 

 

Chack the box io Indicata nm chargel_]
[Eas required by RIGL 7-16-62. the Mined liability company hos pald all feos and taxes,

10, Ewcept 15 herein modieed, the eriginal Appiealion t tor Roglsirallon conileara kn Ault Foeexs and ried ond & Tareby
contrat, bya person with authorily, jy fefisrenoe into thls Amordinant ta tho Applicator foe pireilon.

[At Date when thes Amanchncnl to Sie Applltalion tor Registration wil ba alfeetvo: CHECK ONE BOK ONLY
| |] pete rocelved (Upon fing)
oO Later effentve dala (Pala must be no. mon than 90 days um thie date af fillng}

Uneer panady of pavpty I dectere ond affenn thet (have exivnined iva Amendmont fo | ihe Agplicadion for Registration, -
inching any aooompenying attachments, ond thed all stalenants contained feaveley are sr paid? ceumand,

 

 

    
 

 

arene

 

 

 

 

 

‘Typa at Print Hameo Lined Llabltly Company | Dave: 7 7 a
‘Global Paymeats Chick Servieds, LLC 7 I 7 (9029,
Bkgnahane of Aygharized FerBon 7

‘Le rp iv car ii ute a i
7 -Daved L Green, Secretary of Glotal Payments Direc Ene, tdember

 

 

 

Iryou have any questions, ploata call: um at 4044 yp, Monday through Friday, so -
batwoen 8:30 am, afd 4:30 pin, of aiall carporeiionsibees. igo. gies ASA S Revered: 2S

‘an. a Rem de

 

 

 
Case 1:21-cv-00090-WES-LDA Document9 Filed 04/30/21 Page 58 of 62 PagelD #: 298

RISOS, Filing Number; 201907300330 Date: 7124/2019 11-27-00 AM

— State of Rhode Island and. Providence: Plantations
| Department of State | Office of the Secretary of State

~ Nellie M, Gorbea, Secretary of State

 

|, NELLIE M. GORBEA; Secretary of Stale of the State of Rhode Island
and Providence Planiations, hereby certify that this document, duly executed in
accordance. with the provisions of Tile 7 of the General Laws of Rhode Istand, as

amended, has been filed in this office.on this day:

July 24, 201911:27 AM

 

“Nettie. Mi. Gorbea
Secretary. of. State

 

 

 
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 59 of 62 PagelD #: 299

GLOBAL PAYMENTS CHECK SERVICES, INC.
ORGANIZATIONAL CHART

 

Global Payments; Ine.
‘(Ultimate Parent)

10% Ownership |
Publicly ‘Traded: SPH.

 

 

 

 

 

Global Payments | Direet, Tuc.
(Parent)
100% Ownership

 

 

 

 

 

Global Paynients Cheek Services, Ine.
(Applicant)

 

 

 

 

 

 

 

 
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 60 of 62 PagelD #: 300

EXHIBIT
B
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 61 of 62 PagelD #: 301

GAMING’S LEADING E-CHECK NETWORK

S globalpaymentsgaming.com/global-payrments-gaming-e-check

 

3 MILLION REGISTERED USERS CAN'T BE WRONG

 

Because 10 percent of guests make up 80 percent of casino revenue, easily enabling VIP play
is essential to success. VIP Preferred®, our e-check network, is available in more than 500
North American physical and online gaming locations. More than 3 million consumers rely

on Global Payments for simple, safe and responsible play. The process is fully electronic and

requires no complex guest signup.

The industry's highest limits.

 

Because we’re part of Global Payments, one of the world’s leading payment technology
companies, we understand the unique financial profiles of your VIP guests like no other
partner can. After a simple one-time enrollment process, guests receive revolving 7-day limits
of up to $50,000 instantly and can store up to four checking accounts. All check transactions
are fully guaranteed by Global Payments.

Play today, settle later.

 

Our delayed settlement casino e-check offering, Choiceq4™, enables our clients to put more

cash in play by extending e-check settlement to 7,14, 21 or 28 days. Available where
regulations allow, the process is as simple, with funds drawn from the guest’s account at the
agreed upon date.

ARE YOU READY TO JOIN HUNDREDS OF LAND-BASED AND
ONLINE OPERATORS?

 

Millions of people can't be wrong. Learn more about accepting gaming's leading e-check
network.

V2
Case 1:21-cv-00090-WES-LDA Document 9 Filed 04/30/21 Page 62 of 62 PagelD #: 302

Download Brochure

= i mp at rity
| Gaming Reports | tatereetlve Gaming Meadllity § flesart
4a | AFM § aah Advance | E-Ghe £ tampa
ie ee $9 heeparts

globalpayments

wwa Slabslaymentelsieag. com

 

Contact us to learn more about our suite of products

Contact Us

2/2
